Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 1 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 2 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 3 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 4 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 5 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 6 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 7 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 8 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 9 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 10 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 11 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 12 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 13 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 14 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 15 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 16 of 17
Case 3:19-cr-00604-JAG Document 1082 Filed 01/31/22 Page 17 of 17
